IT IS SO ORDERED

                                     ENTERED UNDER ADMINISTRATIVE ORDER NO. 02−10:
                                     JOSIAH C. SELL, ACTING CLERK OF COURT

                                     BY: /s/ Michael Gaughan
                                              Deputy Clerk

                                             Dated: August 13, 2019


                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO

   In re:                                                    Case Number: 19−14941−aih
   Rebecka Beatrice Schroeder
   207 West 13th Street                                      Chapter: 7
   Lorain, OH 44052



                  ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS


After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form B 103A),
the court orders that:
     The debtor(s) may pay the filing fee in installments on the terms proposed
    in the application.

    The debtor(s) must pay the filing fee according to the following terms:


                                                   $112.00 on or before September 06, 2019

                                                   $112.00 on or before October 04, 2019

                                                   $111.00 on or before November 08, 2019


                                           Total: $335.00

Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional

property to an attorney or anyone else for services in connection with this case. Installment payments must be

submitted to the U.S. Bankruptcy Court, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue,

Cleveland OH, 44114−1235 no later than the payment deadline(s) of this order.

Payments must be submitted in the form of a money order or cashier's check. Personal checks are not

acceptable. Cash payments in the exact amount may be submitted from 9:00 a.m. until 4:00 p.m. in the

court's Intake Department.

Form: ohnb 114 (12/16)




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